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EXHIBIT 3
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

IN RE: CATHODE RAY TUBE
(CRT) ANTITRUST LITIGATION

This Document Relates to:

Sharp Electronics Corp., et al. v.

Hitachi, Ltd., et al., No. 13-cv-01173.

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Master File No. 3:07-5944-SC
MDL No. 1917

DECLARATION OF ADRIEN CADIEUX
IN SUPPORT OF DEFENDANT
THOMSON §.A.’S MOTION TO DISMISS
FOR LACK OF PERSONAL
JURISDICTION

Date: October 14, 2013

Time: 9:00 a.m.

Place: JAMS Resolution Center,

Two Embarcadero Center, Suite 1500

Judge: Hon. Samuel Conti

Special Master: Hon. Charles A. Legge (Ret.)

[NOTICE OF MOTION AND MOTION TO
DISMISS AND [PROPOSED] REPORT AND
RECOMMENDATION GRANTING
MOTION TO DISMISS FILED
CONCURRENTLY HEREWITH]

DECLARATION OF ADRIEN CADIEUX; CaSE No. CV-07-5944-SC
Case 4:0 /-Cv-05944-Js Tr Document 2239-/" FIl€d Ti/Z5/Is Page s or4

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] I, Adrien Cadieux, being duly sworn, declare and state as follows:
2 1. I make this declaration in support of Defendant Thomson S.A.’s (n/k/a
3 | Technicolor SA) motion to dismiss the complaint filed by Sharp on March 15, 2013 in Sharp
4] Electronics Corp., et al. v. Hitachi, Lid., et al., No. 3:07-cv-5944, MDL No. 1917. The
5 || statements contained in this declaration are based on my personal knowledge, my knowledge or
6 | review of various books and records of Thomson S.A., and consultation with various personnel
74 of Thomson S.A. and Thomson Consumer Electronics, Inc.
8 2. I am currently the General Secretary of Thomson S.A. (n/k/a Technicolor SA). I
9 | have held this position since July 2012.
10 3. Based on my position and experience, I am extremely familiar with the corporate
11 | structure, activities, and finances of Thomson S.A.
12 4, Thomson S.A. is a French entity incorporated under the laws of France and
13 | having its principal place of business in Issy-Les-Moulineaux, France.
14 5. Thomson S.A. is a holding company.
15 6. Thomson S.A. has no operations in the United States.
16 7. Thomson S.A. does not have offices or employees in the United States and does
17 ] not have a mailing address in the United States.
18 8 Thomson S.A. does not own, lease, or rent any property in the United States.
19 9 Thomson S.A. does not keep books and records in the United States.
20 10 Thomson S.A. does not pay taxes in the United States.
21 i Thomson S.A. does not have a bank account in the United States.
22 12 Thomson S.A. has not appointed a registered agent for service of process in the
23 | United States.
24 13. Thomson S.A. is not registered as a foreign corporation to do business in the
25 | United States.
26 14. Thomson S.A. has never manufactured cathode ray tubes (“CRTs”) or finished
27 | products containing CRTs in the United States or elsewhere.
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DECLARATION OF ADRIEN CADIEUX; CASE NO. CV-07-5944-SC
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15. Thomson S.A. has never marketed, sold, or distributed CRTs or finished products
containing CRTs in the United States or elsewhere.

16. | Thomson S.A. does not maintain any inventory of products in the United States.

17. Thomson Consumer Electronics, Inc. (n/k/a Technicolor USA, Inc., f/k/a
Thomson, Inc.) (“Thomson Consumer’) is a Delaware corporation having its principal place of
business in Indianapolis, Indiana. Thomson Consumer is a wholly-owned subsidiary of
Thomson S.A.

18. | Thomson S.A. and Thomson Consumer maintain separate corporate structures,
including separate boards of directors, separate management, separate offices and separate
employees.

19. The finances of Thomson S.A. and Thomson Consumer are managed separately.

20. Thomson S.A. does not control the day-to-day activities of Thomson Consumer
and has no involvement in the management, sales, marketing, or other corporate responsibilities

of Thomson Consumer.

21. | Thomson Consumer was responsible for the sales and marketing of CRTs in the

United States and set the prices for CRTs in the United States.

I declare, under penalty of perjury under the laws of the United States of Americe -

that the foregoing is true.

By: Adrien Cadieux

Dated: June 28, 2013

Title: General Secretary, Thomson S.A.

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DECLARATION OF ADRIEN CADIELU
IN SUPPORT OF THOMSON S.A.’S MOTION TO DISMISS; Case No. CV-07-5944-!
